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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Welly Chandra, et al.
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:18−cv−07686
                                                                      Honorable Thomas M.
                                                                      Durkin
BOEING INTERNATIONAL SALES
CORPORATION, a Washington State Profit
Corporation, et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 11, 2020:


        MINUTE entry before the Honorable Thomas M. Durkin: Attorneys Thomas
Girardi, David Lira, and Keith Griffin, are ordered to appear by phone for the hearing as
to the motion for rule to show cause on 12/14/2020 at 10:00 a.m. [843], by dialing
877−402−9757, access code 4410831. Mailed notice. (ecw, )




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